 8:16-cr-00091-JMG-CRZ             Doc # 34     Filed: 03/25/16     Page 1 of 1 - Page ID # 48


                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                                        8:16CR91

      vs.
                                                                        ORDER
HUMBERTO GARCIA-GARMONA, AND
DIANA BARTA,
                     Defendants.

       Defendant Barta has moved to continue the pretrial motion deadline, (filing no. 32),
because the defendant and defense counsel need additional time to fully review the discovery
received before deciding if pretrial motions should be filed.         The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds the motion should be
granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant’s motion to continue, (filing no. 32), is granted.
       2)     As to both defendants, pretrial motions and briefs shall be filed on or before
              April 18, 2016.
       3)     As to both defendants, trial of this case remains scheduled to commence on May
              9, 2016.
       4)     The ends of justice served by granting the motion to continue outweigh the
              interests of the public and the defendant in a speedy trial, and

              a.        As to both defendants, the additional time arising as a result of the
                        granting of the motion, the time between today’s date and April 18, 2016,
                        shall be deemed excludable time in any computation of time under the
                        requirements of the Speedy Trial Act, because although counsel have been
                        duly diligent, additional time is needed to adequately prepare this case for
                        trial and failing to grant additional time might result in a miscarriage of
                        justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

              b.        Failing to timely file an objection to this order as provided in the local
                        rules of this court will be deemed a waiver of any right to later claim the
                        time should not have been excluded under the Speedy Trial Act.

              March 25, 2016.                         BY THE COURT:
                                                      s/ Cheryl R. Zwart
                                                      United States Magistrate Judge
